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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SELENA STALEY, VIVIAN HOLMES,
and OLIVE IVEY, on behalf of
themselves and all others 22-cv-6781 (JSR)
similarly situated,
ORDER

Plaintiffs,
-against-

HOTEL 57 SERVICES, LLC,

Defendant.

JED S. RAKOFF, U.S.D.J.:

On June 6, 2025, this Court held an in-person conference, at
which both parties consented on the record to proceed by jury trial
on plaintiffs’ claims under the federal and New York State Worker
Adjustment and Retraining Notification (“WARN”) Acts. Pursuant to
Federal Rule of Civil Procedure 39, even in “an action not triable
of right by a jury,” a district court “may, with the parties’
consent, try an issue by a jury whose verdict has the same effect
as if a jury trial had been a matter of right, unless the action
is against the United States and a federal statute provides for a
nonjury trial.” Fed. R. Civ. P. 39(c) (2). This case is not an
action against the United States and the WARN Acts do not
explicitly provide for nonjury trials. Accordingly, given the
parties’ consent, this case is set for a jury trial, which will

begin on Monday, August 11, 2025, at 9:30 AM.

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SOQ ORDERED.

New york, NY fp
¢ [/o, 2025 JE S>)* RAKOFF,“U.S.D.d
